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           EXHIBIT 2
Case 3:17-cv-00072-NKM-JCH Document 511-3 Filed 07/02/19 Page 2 of 2 Pageid#: 5384




                     _    Chrisiop il,er C,mlwell @C. ntwdl FRO
                          a day

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                    moire violence. Retweet to t,elll him thatt1s
                    wrong.



                                   "I'm trying to ma1ke
                                  myself more capabl,e of
                                        violence."
                                                                     -Christopher Cantwell, Defendant


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